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      __________________________________

                        Robert Stevenson, Ph.D

                                April 7, 2020
      __________________________________

           Lone Star Technological Innovations, Inc.
                                        vs.

                        Asustek Computer, Inc.




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

           LONE STAR TECHNOLOGICAL           §
           INNOVATIONS, INC.,                §
                                             §
                Plaintiff,                   §
                                             §   CIVIL ACTION
                            v.               §
                                             §   NO.: 6:19-cv-00059-RWS
           ASUSTEK COMPUTER, INC.,           §
                                             §
                Defendant.                   §




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                       ORAL VIDEOCONFERENCE DEPOSITION OF

                              ROBERT STEVENSON, Ph.D.

                                    APRIL 7, 2020

                                    VOLUME 1 OF 1

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                ORAL VIDEOCONFERENCE DEPOSITION OF ROBERT STEVENSON,

           Ph.D., produced as a witness at the instance of the

           Plaintiff, and duly sworn, was taken in the above-styled

           and numbered cause on April 7, 2020, from 1:33 p.m. to

           4:01 p.m., via videoconference, before April R. Brunson,

           CSR in and for the State of Texas, reported by machine

           shorthand, pursuant to the Federal Rules of Civil

           Procedure and the provisions stated on the record or

           attached hereto.
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      1                         A P P E A R A N C E S

      2

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      1                  P   R   O   C   E   E   D   I   N   G   S

      2                (Proceeding commenced at 1:33 p.m.)

      3                      THE REPORTER:       Now on the record, today

      4    is April 7, 2020.      The time is 1:33 p.m.          This is the

      5    oral deposition of Robert Stevenson, and it is being

      6    conducted remotely via videoconference, in the matter of

      7    Lone Star Technological Innovations, LLC, versus Asustek

      8    Computer, Inc., Civil Action Number 6:19-cv-00059-RWS.

      9                      My name is April Brunson, Certified

     10    Shorthand Texas Reporter Number 7495.             I am

     11    administering the oath and reporting the deposition

     12    remotely by stenographic means.           The witness has been

     13    identified to me through attestation of counsel.

     14                      Will counsel please state your

     15    appearances for the record, and then I will swear in the

     16    witness.

     17                      MR. LEE:     John Lee of the firm Banie &

     18    Ishimoto, LLP, on behalf of Plaintiff Lone Star

     19    Technological Innovations, LLC.

     20                      MR. RUNYAN:     Edward Runyan with Neustel

     21    Law Offices, Ltd., on behalf of Defendant Barco N.V.

     22                      MR. OLIVER:     This is Andrew Oliver with

     23    Amin, Turocy & Watson representing Asustek Computer,

     24    Inc.

     25                      ROBERT STEVENSON, Ph.D.,



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      1    having been first duly sworn, testified as follows:

      2                              EXAMINATION

      3    BY MR. LEE:

      4         Q.    Yes.   Dr. Stevenson, this is John Lee.        Good

      5    afternoon.

      6         A.    Good afternoon.

      7                      MR. RUNYAN:   John -- John, may I -- a

      8    point of order while we're on the record so I don't

      9    forget, I would like to go on the record to request

     10    reading and signing of the transcript.

     11                      MR. LEE:    Okay.

     12                      MR. RUNYAN:   Sorry for interrupting.

     13         Q.    (BY MR. LEE)      Dr. Stevenson, is there anything

     14    that impacts the truthfulness or voracity of your

     15    statement today?

     16         A.    No, I don't believe so.

     17         Q.    I will be asking questions.       Your counsel may,

     18    from time to time, lodge objections.        Absent

     19    instructions from counsel to not answer on the basis of

     20    privilege, after those objections are lodged, you are

     21    required to answer my questions.

     22                       (Exhibit 1 introduced.)

     23         Q.    (BY MR. LEE)      I'm introducing the -- as

     24    Exhibit 1 the amended Notice of Deposition of Robert

     25    Stevenson, and that's on your screen right there.          Do



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      1    you see that, Dr. Stevenson?

      2         A.    Yes.

      3         Q.    And what is your understanding of the -- your

      4    deposition testimony today?       Why are you being deposed

      5    today?

      6                      MR. RUNYAN:   Objection, vague.

      7         A.    I wrote a declaration, and my understanding is

      8    you have an opportunity to ask me questions about that

      9    declaration.

     10         Q.    (BY MR. LEE)     Okay.   When were you retained to

     11    serve as a expert in this case?

     12         A.    I certainly don't recall the specific date.

     13    It was a couple months ago.

     14         Q.    Who contacted you to work on this case?

     15         A.    I believe the first contact was from Ed

     16    Runyan.

     17         Q.    And who retained you to serve as an expert on

     18    this case?

     19         A.    I mean, I'd probably have to go back and look

     20    at an engagement letter to know, you know, maybe

     21    specifically.     But I certainly went back and forth with

     22    Mr. Runyan about the issues about getting engaged.

     23         Q.    Do you know whether you've been retained by

     24    Barco or Asustek to represent in this matter?

     25         A.    I probably would have to see if there's an



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      1    engagement letter to look at.       I mean, my understanding

      2    is I'm, you know, working for both, I guess, but I'm not

      3    sure about that.

      4         Q.    The declaration that you submitted, when were

      5    you contacted to -- to work on that declaration to

      6    submit that testimony?

      7                     MR. RUNYAN:    Objection, vague.

      8         A.    Again, I certainly don't have a specific date

      9    that I would recall.     It came up relatively early in the

     10    conversations I had, so a little while ago.

     11         Q.    (BY MR. LEE)     How much time did you spend

     12    working on the declaration?

     13         A.    I don't know.     I'd have to go back and look at

     14    my billing records.

     15         Q.    What did you do to prepare for your deposition

     16    today?

     17         A.    Do you mean like what I did in the past day or

     18    two or since I started working on the case?

     19         Q.    Since you were notified that you had to

     20    testify at this deposition.

     21         A.    I reviewed my declaration, and I -- I looked

     22    at the patent.

     23         Q.    How much time did you spend looking at your

     24    declaration and at the patent in preparing for this

     25    deposition?



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      1          A.    You know, I can tell you, in the past day or

      2    two, I probably spent on the order of four to six hours.

      3                      Sorry, my -- sorry, my screen went blank.

      4    I guess I have to touch it every once in a while or else

      5    I won't see things.      I'm sorry.    What was your next

      6    question?

      7          Q.    You said in the past day or two, you spent

      8    four to six hours preparing for this deposition.           Did

      9    you spend any -- any time before the past day or two in

     10    preparing for your deposition?

     11          A.    I'd have to go back and look at my records to

     12    see if I -- you know, it feels like I was first told

     13    about this maybe a week or two ago.        I don't know if I

     14    did anything initially or not.        I don't recall.

     15          Q.    Did you speak with anybody in preparing for

     16    this deposition?

     17          A.    I spoke a little bit with Mr. Runyan.

     18          Q.    When did you speak with Mr. Runyan?

     19                      MR. RUNYAN:    Objection, calls for

     20    privileged information, vague.

     21                      MR. LEE:   So I believe asking the

     22    specific time would be similar to the privilege log.

     23    I'm not asking him to disclose the contents of that.

     24                      MR. RUNYAN:    He can answer to the extent

     25    that no -- no work product or privileged information is



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      1    revealed.

      2          Q.    (BY MR. LEE)    Dr. Stevenson, can you answer

      3    when you spoke with Mr. Runyan in preparing for this

      4    deposition?

      5          A.    I recall a relatively short conversation,

      6    maybe towards the end of last week, and then a -- I had

      7    a conversation yesterday.

      8          Q.    How much time did you spend talking with

      9    Mr. Runyan at the end of last week?

     10                      MR. RUNYAN:    Objection, relevance.

     11          Q.    (BY MR. LEE)    Please answer.

     12          A.    I mean, I don't recall.      Probably no more

     13    than, like, five or ten minutes.

     14          Q.    And when you spoke with Mr. Runyan yesterday,

     15    how much time did you speak with -- how long did you

     16    speak with him?

     17          A.    It was probably a little bit longer, but it

     18    was probably still something like no more than, like,

     19    15 minutes.

     20          Q.    Besides Mr. Runyan, did you speak with anybody

     21    else about this -- in preparing for this deposition?

     22          A.    Certainly not since I've been noticed for the

     23    deposition, no.

     24          Q.    So you haven't spoken with Mr. Andrew Oliver

     25    or Vinay Joshi in preparing for this deposition?



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      1          A.    If they were participating in a call, I

      2    certainly don't -- I don't believe they participated in

      3    any call.    I believe Mr. Runyan is the only person I've

      4    talked to in the past week or two.        Before then, I don't

      5    really recall if they even participated in anything.

      6          Q.    I'm marking as Exhibit Number 2 the

      7    Declaration of Robert Stevenson.

      8                         (Exhibit 2 marked.)

      9          Q.    (BY MR. LEE)    Dr. Stevenson, do you recognize

     10    this document?

     11          A.    Yes, I do.

     12          Q.    What is this document?

     13          A.    It looks to be my declaration that I submitted

     14    in this case.

     15          Q.    Who did you speak with in preparing this

     16    declaration?

     17                      MR. RUNYAN:    Objection, vague, lacks

     18    foundation.

     19          A.    My recollection is I -- I primarily spoke with

     20    Mr. Runyan.

     21          Q.    (BY MR. LEE)    Did you speak with any of

     22    Asustek's counsel, such as Mr. Vinay Joshi, Mr. Andrew

     23    Oliver?

     24          A.    I don't recall.     You know, maybe they

     25    participated in some phone call.        I don't know.    I don't



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      1    recall really talking to them, certainly -- certainly

      2    not substantively about anything.

      3          Q.    Did you communicate to either Mr. Joshi or

      4    Mr. Oliver via e-mail?

      5          A.    They might be cc'd on some messages.        I don't

      6    recall.

      7          Q.    Turning your attention, Dr. Stevenson, to

      8    paragraph number 1 of your declaration, it speaks that

      9    you've been retained by Complainant Barco N.V.; is that

     10    accurate?

     11          A.    I believe so.

     12          Q.    So you have not been retained by Asustek in

     13    this case; is that correct?

     14          A.    Well, that paragraph doesn't say that.         And as

     15    I answered before, I don't really recall.         I'd have to

     16    go and look at something to see if I have some sort of

     17    engagement letter with them.

     18          Q.    If you -- if Asustek retained you, wouldn't

     19    you have put it -- that in this paragraph?

     20          A.    I might have.    You know, it's not there.

     21    Maybe -- you know, without going back and looking at

     22    other records, I can't tell you why it's not there.           I

     23    just don't have a recollection.

     24          Q.    Who drafted this declaration, Dr. Stevenson?

     25          A.    I did.



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      1          Q.    How much time did you spend drafting this

      2    declaration?

      3          A.    I don't recall.     I'd have to go back and look

      4    at my records.

      5          Q.    Can you give me an estimate of how much time

      6    you spent?

      7                      MR. RUNYAN:    Objection, relevance.

      8          Q.    (BY MR. LEE)    You can answer.

      9          A.    I know I worked -- sorry?

     10          Q.    If you can answer the question, please do so.

     11          A.    I know I spent several hours on multiple days,

     12    several hours each day on multiple days.         I don't know

     13    what the total would be.       Certainly more than 10,

     14    probably less than 50.

     15          Q.    This declaration was submitted on March 16th.

     16    When did you start working on this declaration?

     17                      MR. RUNYAN:    Objection, relevance.

     18          A.    I'd -- I'd have to go back and look at my

     19    records.    My, you know, sense is it was a week or two

     20    before.

     21                      Actually, my recollection is it might

     22    have been due originally earlier than that, and it was

     23    like a week or two before that earlier date that I

     24    started.

     25          Q.    (BY MR. LEE)    And you estimate somewhere



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      1    between 10 to 50 hours is the amount of time you spent

      2    in -- after you were asked to draft the declaration to

      3    when you signed it?

      4          A.    That's a very rough estimate.       I just don't --

      5    you know, I don't keep track of it in my mind, those

      6    sort of things.     You know, I have records, obviously, I

      7    can go back and look at, but you know, that's just a

      8    vague sense of, sort of, the time.

      9          Q.    How often do you submit your bills to -- to

     10    Barco?

     11                      MR. RUNYAN:    Objection, relevance.

     12          A.    I mean, I don't know what I've done so far.

     13    My general practice is to try to do it once a month.           I

     14    don't always do it every month but usually at least

     15    every other month.     A lot of strange things going on

     16    right now, so you know, I'm not sure I'm doing my normal

     17    either, though, so...

     18          Q.    (BY MR. LEE)    This declaration was submitted

     19    on March 16th.     Have you submitted the bill for this

     20    work to Barco yet?

     21                      MR. RUNYAN:    Objection, assumes facts,

     22    lacks foundation, irrelevant.

     23          A.    I believe so.

     24          Q.    (BY MR. LEE)    But you don't recall how much

     25    you've spent time-wise from those billing records that



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      1    you just recently submitted?

      2                      MR. RUNYAN:    Objection --

      3          A.    No.

      4                      MR. RUNYAN:    -- vague, assumes facts,

      5    misstates testimony.

      6          A.    No.   I don't have that invoice memorized, so I

      7    don't know how -- how it's broken up and what portion of

      8    the time was spent on this declaration.

      9          Q.    (BY MR. LEE)    Have you ever worked with

     10    Mr. Runyan before, serving as a consultant for Barco?

     11          A.    Yes, I have.

     12          Q.    In what other matters have you worked with

     13    Mr. Runyan?    If you could, provide a description.

     14          A.    I recall two matters.      One was some previous

     15    work for Barco.     That was quite a while ago.       I don't

     16    know; probably more than five years ago.

     17                      And the other one, I believe, was work

     18    for -- I want to say Nintendo.        I'm not sure I've got

     19    the right case, though.

     20          Q.    Besides those two matters, do you recall of

     21    any other matters you worked with Mr. Runyan on?

     22          A.    I don't believe there's anything else, you

     23    know, that I -- of substance.       I did a fair amount of

     24    work.   You know, there's times I've been hired by people

     25    that, you know, they hire me and then I never -- nothing



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      1    ever comes of it, so I never -- it really doesn't stick

      2    in my mind at all if I don't do any work.         I think those

      3    are the only two matters that, you know, I did some work

      4    on.   There might be something else out there that, you

      5    know, I really didn't work on, but you know, maybe I'm

      6    technically engaged by -- by them.        I just don't know.

      7          Q.    Have you ever worked with defendants' counsel

      8    Mr. Joshi or Mr. Oliver in prior matters?

      9          A.    I don't recognize the names, so I don't

     10    believe so.

     11          Q.    Where are you currently employed,

     12    Dr. Stevenson?

     13          A.    The University of Notre Dame.

     14          Q.    And how long have you worked at the University

     15    of Notre Dame?

     16          A.    In August, it will be 30 years.

     17          Q.    Besides working at University of Notre Dame,

     18    are you employed by anybody else currently?

     19          A.    Other than just these consulting engagements I

     20    sometimes do.

     21          Q.    How much of your time does the consulting

     22    matters -- do they occupy your time compared to working

     23    at Notre Dame?

     24          A.    You know, to give you specific numbers, I'd

     25    have to look at some records.       My -- you know, my rough



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      1    estimate would be I spend about 75 percent of my time on

      2    my Notre Dame activities and 20 to 25 percent on these

      3    other sort of activities.

      4          Q.    In submitting your declaration, Dr. Stevenson,

      5    you also submitted an Exhibit A.        I'm turning your

      6    attention to the screen there.        Do you recognize what

      7    Exhibit A is?

      8          A.    Yes.

      9          Q.    What is it?

     10          A.    It's a copy of what I refer to as my academic

     11    CV from February 3rd, 2020.

     12          Q.    And the CV lists your qual- -- your

     13    professional experience, your education, publications,

     14    talks you've had.      It's quite an extensive list there.

     15    Is this meant to be an identification of all of the

     16    publications that you've worked on, that you've

     17    authored, the talks?      Are they -- I'm just trying to get

     18    an understanding of what the CV covers.

     19                       MR. RUNYAN:   Objection, vague, compound.

     20          A.    Well, first I would -- I would point you to

     21    the last page which is dated February 3rd, 2020, so

     22    anything more recent than that certainly wouldn't be on

     23    this copy of the CV.      This is something I update very

     24    frequently.

     25                       Certainly, my attempt is to capture all of



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      1    my activities -- all my academic activities.          Every once

      2    in a while, I find something that escaped, and I put it

      3    on there.    So it's my best attempt at being complete,

      4    but I find it not always is.

      5          Q.    (BY MR. LEE)    And in Exhibit B, it's a

      6    document that lists your litigation experience.          Is that

      7    something that you prepared as well?

      8          A.    Yes.

      9          Q.    On page 3, it lists a November 6 [sic], 2019,

     10    date?

     11          A.    Yes.

     12          Q.    Are there any other litigation experience

     13    between November 26, 2019, and now that's not listed in

     14    this Exhibit B?

     15          A.    I don't believe so.

     16          Q.    What sort of -- what material did you rely on,

     17    Dr. Stevenson, in preparing and submitting this

     18    declaration?

     19          A.    Well, primarily, it was about the patent and

     20    its file history.      That was the -- kind of my primary

     21    go-to source, you might say.

     22                       But certainly I relied on the fact that

     23    I've been working in this area for over 30 years, and I

     24    work with people and educate people who work in this

     25    area, so certainly I'm pulling on the -- my knowledge



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      1    about their activities and what they know.

      2          Q.    So you relied on reviewing the '435 patent,

      3    its file history, and your experience and knowledge in

      4    this field?

      5          A.    That's primarily the things I relied on for

      6    this declaration.

      7          Q.    What else did you rely on that --

      8          A.    Those are the things that -- those are the

      9    things that come to mind.       I mean, if I cited something

     10    else -- if I relied on something else, I certainly would

     11    have cited it within the declaration.

     12          Q.    Okay.   And that's consistent with the

     13    paragraph 1 in -- that sentence in the middle of that

     14    paragraph:    The expert opinions that I've set forth in

     15    my declaration are based upon my knowledge in the field,

     16    the patents at issue in this investigation, the file

     17    history of the patents at issue in this matter.          Is that

     18    correct?

     19          A.    Yes.

     20          Q.    If I could turn your attention to paragraph 7

     21    of your declaration, Dr. Stevenson.        Let me know when

     22    you're there.

     23          A.    I'm there.

     24          Q.    You talk about your early -- the past

     25    30 years, focus on design techniques, hardware and



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      1    software for processing of digital signals using digital

      2    computing devices.     The last sentence of that paragraph

      3    where it says:     My early work on digital techniques for

      4    printing image capture devices led to significant

      5    interaction with companies developing desktop computer

      6    products in the early 1990s.       I began trying to

      7    incorporate those ideas into their products.

      8                       Do you see that?

      9          A.    Yes.

     10          Q.    Can you elaborate on that?

     11          A.    Well, the -- you know, in this time frame, you

     12    know, I was doing a lot of imaging work, and there

     13    wasn't much desktop imaging.       There was some very

     14    high-end desktop publishing.

     15                       But for instance, around that time frame,

     16    I started working with Apple.       They gave me some money

     17    and computers starting around '94, maybe, and they were

     18    interested in color aspects.       There's a -- there's a

     19    color problem that everyone kind of feels differently

     20    about color.    You know, red is not always red from

     21    device to device.     And so how to manage that process

     22    was -- was their interest in working with me.

     23                       They had a digital camera at the time

     24    called the QuickTake.      They were -- it was -- the color

     25    retention on it was horrendous, so I was working with



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      1    them on that.

      2                      And also at this time, I spent a summer at

      3    Intel in Oregon as part of their Pentium architecture

      4    group.     This is the group that designs the Pentium chip,

      5    their main product.      And at the time, they were trying

      6    to incorporate multimedia image and video-type signal

      7    processing better into the hardware.         And so I was part

      8    of a video compression effort in looking at how to try

      9    to get better support in the Pentium architecture for

     10    such sorts of processing.

     11                      Shortly after that, I started working with

     12    a company like Sun Microsystems.        Somewhat similar, they

     13    were trying to get more video into their SPARC

     14    architecture.

     15                      I also worked in the -- probably a little

     16    bit later, maybe '97, '98, with Motorola.         They were

     17    starting -- you know, beginning to look at trying to do

     18    video over the cellular network, some of the challenges

     19    there in terms of the noise in the cellular channel and

     20    what happens to image and video when in that sort of

     21    environment.

     22                      Those are just some of the examples.

     23          Q.     Were there any specific products where your --

     24    where your work with these companies resulted in

     25    commercialization of products?



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      1          A.     Well, I certainly wasn't trying -- and I -- I

      2    wouldn't try to write production code.         That's someone

      3    else's job.     I was trying to bring in ideas and

      4    algorithms and develop new techniques that other people

      5    were putting into production code.

      6                        The -- you know, the products that were

      7    associated with the group that I was working with, at

      8    Apple they had something called ColorSync, which was an

      9    add-on to their operating system.

     10                        At Intel, there was a videoconferencing

     11    product.     I think it was called ProShare, if I remember

     12    right.

     13                        At Sun, it was about their SPARC

     14    architecture, and they had a -- what they called the

     15    visual instruction set.      That was the thing they were

     16    adding into the SPARC architecture at the time that I

     17    was working with them on.

     18          Q.     Turning your attention to page 5 of your

     19    declaration, paragraph 14, under the legal standard, you

     20    write:     I'm not an attorney, but I have -- I have been

     21    informed by counsel of the following standards.

     22                        Do you see that?

     23          A.     Yes.

     24          Q.     Who is the counsel that informed you of the

     25    standards, Dr. Stevenson?



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      1           A.   I've been doing this sort of consulting for a

      2    while, and this is my understanding from numerous

      3    counsel over the years.      I couldn't list -- list them

      4    all.

      5           Q.   So this is not something -- you know, the

      6    paragraphs following 14 are not something from current

      7    counsel that you've -- on this matter.         But this is

      8    something from -- amalgam of your understanding from

      9    working with counsel in the past?

     10           A.   Well, I would say it's kind of both.        I mean,

     11    I've certainly reviewed this with the current counsel,

     12    but I know it's also, you know, in part, based on my

     13    knowledge from interactions with previous counsel.

     14           Q.   Moving on to paragraph 15, if I can direct

     15    your attention to the first sentence:         I am informed by

     16    counsel that claim construction begins with the words of

     17    the claim itself, which generally receive their ordinary

     18    and customary meaning as understood by a person of

     19    ordinary skill in the art at the time of -- at the time

     20    of invention, in the context of the specification and

     21    prosecution history.

     22                       Do you see that?

     23           A.   Yes.

     24           Q.   What does -- what does ordinary and customary

     25    meaning mean to you?



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      1          A.    The way I understand that, I'm supposed to,

      2    you know, put myself in the place of someone of ordinary

      3    skill in the art, which I provided a definition of what

      4    I felt was that later in this declaration, you know,

      5    with the knowledge they had, what they would understand

      6    based on reading the claims, having read the

      7    specification, having seen whatever went on in the file

      8    history, what they would think that the terms mean.

      9          Q.    And in moving to paragraph 16, you wrote that

     10    as well, correct?

     11          A.    I did what?

     12          Q.    You also wrote paragraph 16 of your

     13    declaration?

     14          A.    That's certainly my understanding.        At least

     15    that's my understanding, yes.

     16          Q.    And what was the purpose of this paragraph 16?

     17          A.    Paragraph 15 or 16?

     18          Q.    16.

     19                      MR. RUNYAN:    Objection, calls for a legal

     20    conclusion.

     21          A.    I don't know.    It's just a -- it's just a

     22    further explanation of my understanding of the law and

     23    how I'm trying to apply it.

     24          Q.    (BY MR. LEE)    And the same would go to

     25    paragraph 17 as well, Dr. Stevenson?



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      1          A.    Yes.   I'm just trying to lay out there, so I'm

      2    explaining how I understand and how I looked at the --

      3    you know, the tasks set forth in this declaration.

      4          Q.    Are there any -- are there any other legal

      5    principles that you're relying on for claim construction

      6    that you have not stated in this declaration?

      7                       MR. RUNYAN:   Objection, vague, calls for

      8    a legal opinion.

      9          A.    What -- what is a legal principle?

     10          Q.    (BY MR. LEE)    Well, you -- the principles you

     11    put forth in paragraphs 15, 16 and 17, as I understand

     12    from your testimony, those are the principles that

     13    you're using for claim construction in forming your

     14    opinions in this declaration.

     15                       MR. RUNYAN:   Objection, vague, compound,

     16    mischaracterizes testimony.

     17          A.    You know, I don't know what constitutes a

     18    legal principle.     It seems like -- that sounds like

     19    something that has a specific meaning to, maybe, a

     20    lawyer.

     21                       What I put in these paragraphs was trying

     22    to explain, you know, based on my understanding, what

     23    has been told to me by counsel, you know, over the

     24    years, of how I should be going about, you know, forming

     25    the opinions I have in this case from a legal



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      1    perspective.

      2                      If you want to call them principles, okay.

      3    I don't know what -- quite what you mean there.

      4          Q.    (BY MR. LEE)    Was there anything else that

      5    you went by or relied upon that's not stated in

      6    paragraphs 15 to 17 of your declaration?

      7                      MR. RUNYAN:    Objection --

      8          A.    I'm not sure --

      9                      MR. RUNYAN:    The document speaks for

     10    itself, asked and answered.

     11          A.    Yeah, I'm not sure how to answer that

     12    question.    I'm trying to -- in these paragraphs, trying

     13    to explain how I understood the law and how I applied my

     14    understanding of the law to the task at hand.

     15                      I don't know what things you're referring

     16    to, so I'm not sure exactly, you know, what constitutes

     17    something else I might have thought of.

     18          Q.    (BY MR. LEE)    I guess what I'm asking is,

     19    you've -- paragraphs 15 to 17 is your understanding of

     20    the law, and that's what you've applied in formulating

     21    your opinions; is that correct?

     22                      MR. RUNYAN:    Objection, vague, misstates

     23    testimony, compound, lacks foundation.

     24          A.    I'm sorry.    It sounds like you're drawing some

     25    legal line that I'm not sure I understand, so I'm not



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      1    sure how to answer your question.        I'm not a lawyer, so

      2    if you're drawing some sort of legal distinction, I'm

      3    not sure what you mean by it.

      4                      What I'm doing in these paragraphs, as I

      5    repeated a couple times now, is I put down -- what I

      6    attempted to put down is my understanding of the law and

      7    how I applied it in forming -- you know, when I went to

      8    form my opinions later in this document.

      9           Q.   (BY MR. LEE)    My -- let me put this another

     10    way.    Are there any understandings of the law that are

     11    not explicitly written in paragraphs 15 to 17 that

     12    impacted or formulated -- helped formulate your opinions

     13    in your declaration?

     14           A.   I don't -- your question is so vague.        I don't

     15    know what you mean by "understandings of the law."

     16                      You know, I tried to be as clear as I

     17    could in this paragraph.       If there's something that's

     18    unclear or if there's something wrong, certainly, you

     19    could ask me about it.      I don't know what other sorts of

     20    understandings -- I'm not sure what you consider a

     21    different understanding.       You know, I didn't put down my

     22    entire brain process through -- in here.         I tried to

     23    summarize it in a distinct, you know, clear way.

     24           Q.   And paragraphs 18 and 19, under the subheading

     25    "Claim Indefiniteness," is that -- you're writing those



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      1    to kind of -- you were writing those to put down your

      2    understanding of what constitutes claim indefiniteness;

      3    is that correct?

      4          A.    What I attempted to do --

      5                      MR. RUNYAN:    Objection, vague.

      6          A.    What I attempted to do --

      7                      MR. RUNYAN:    Compound.

      8          A.    Sorry.

      9                      What I attempted to do in those two

     10    paragraphs was to summarize and put down my

     11    understanding of the legal -- you know, the legal -- my

     12    understanding of the legal process and how I were to

     13    apply that understanding to the work I was doing in this

     14    case.

     15                      THE REPORTER:    Would you repeat that

     16    objection?    I'm sorry.     The crosstalk, I didn't catch

     17    the objection.

     18                      MR. RUNYAN:    I believe it was vague and

     19    compound.

     20                      Counsel, can I request, when you ask

     21    questions, you asked about multiple paragraphs, but

     22    you're only showing 18 here.       Could you make sure

     23    they're all shown?     Thank you.

     24                      MR. LEE:    I will.   And I also -- I will.

     25                      And Ed?



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      1                       MR. RUNYAN:   Yes.

      2                       MR. LEE:    Can we -- you know, you've been

      3    making speaking objections.        In the Eastern District of

      4    Texas, you're only allowed to object to form and object

      5    to privilege, so I would ask that you adhere to the

      6    protocol in the Eastern District of Texas.

      7                       MR. RUNYAN:   I am.

      8          Q.    (BY MR. LEE)      Turning your attention to

      9    paragraph 21, Dr. Stevenson, that -- you set forth, in

     10    your opinion, what the ordinary skill in the art for

     11    this patent should be; is that correct?

     12          A.    Yes.

     13          Q.    Can you walk me through your -- your opinion

     14    on the ordinary skill in the art and explain to me how

     15    you arrived at that conclusion?

     16          A.    I'm not sure what you mean by walk you

     17    through.    I mean, I could -- I could read it to you.

     18          Q.    So you -- sure.      You set forth where people

     19    with, one, at least a bachelor's degree in electrical

     20    engineering, computer science, applied mathematics or in

     21    an equivalent field, as well as at least one or two

     22    years of industry experience in the digital video system

     23    design.

     24                       Why, in your opinion, is that the -- one

     25    of ordinary skill in the art for this patent?



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      1          A.     Well, I think, if you read the following

      2    paragraph, it kind of lays out my -- my -- you know,

      3    what things I looked at and considered and, you know,

      4    how I arrived at that.

      5          Q.     So -- and you're referring to the following

      6    paragraph, that's paragraph 22, and you wrote:          I have

      7    reached this opinion regarding the level of ordinary

      8    skill in the art based on my review of the asserted

      9    patents and my personal experience in educating,

     10    supervising, and working with persons having the level

     11    of ordinary skill in the art around the time of

     12    invention of the asserted patents.

     13                        Is that what you're referring to?

     14          A.     Yes.

     15          Q.     So why is it at least one or two years of

     16    industry experience in the digital video system design?

     17    What -- versus two to three or three to five, how did

     18    you decide on one to two?

     19          A.     Well, I have a very good understanding of, you

     20    know, what someone who has just earned a bachelor's

     21    degree in electrical engineering, computer science, or

     22    applied mathematics, what they come out of school with,

     23    right.     So I've worked with those sort of students, you

     24    know, for 30 years, so I know they don't have enough

     25    experience.     You know, they -- the typical one certainly



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      1    does not have any experience on the digital images and

      2    digital video and the concepts that cover that the

      3    patent is kind of built on.       So I know that's not

      4    enough.

      5                      I also know that, if you work in that

      6    field, these are -- these are concepts that you would --

      7    you would come across relatively soon, in the first year

      8    or two of exposure to that field.        So -- and so at that

      9    point, I think you would have a -- you know, be able to

     10    understand a patent.      You would be able to learn from

     11    the patent.    You would be what would be considered a

     12    person of ordinary skill in the art at that time.

     13          Q.    Subpart 2 of one of ordinary skill in the art

     14    you write is at least five years of comparable industry

     15    experience in digital video system design.          What would

     16    be considered comparable industrial experience in

     17    digital video system design?

     18          A.    Well, I certainly, over the years, have worked

     19    with people who -- who didn't earn a bachelor's degree.

     20    They were more self-taught or they learned on the job,

     21    you might say.     Some of those people were very skilled

     22    and, you know, very much contributed to the field, but

     23    they generally had much longer time in industry working

     24    on the, you know, technology before they gained that

     25    appreciation and understanding I think someone of



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      1    ordinary skill in the art would have had, so that's why

      2    I came up with five years.

      3          Q.    And then the third part of your -- of the

      4    standard for one of ordinary skill in the art is an

      5    equivalent combination of academic study and work

      6    experience.    Can you elaborate on that?

      7          A.    Well, the -- again, as I said, there are some

      8    people who didn't have any higher education and yet I've

      9    seen make contributions in this area.         There are some

     10    who went to school for a while, went in the industry,

     11    maybe didn't finish a degree.       They got that equivalency

     12    somehow.

     13                      There's also, if someone had done -- maybe

     14    they hadn't worked in the industry but they've done an

     15    advanced degree beyond a bachelor's degree specifically

     16    in the area of digital video, so maybe like a master's

     17    degree or, you know, partial Ph.D. in digital video.           I

     18    think they would certainly be someone of ordinary skill

     19    in the art and would be able to appreciate the patent.

     20          Q.    What does the word "characterize" mean to you,

     21    Dr. Stevenson?

     22          A.    In the context of the patent, I didn't find it

     23    particularly clear.

     24          Q.    Why didn't you find it particularly clear?

     25          A.    Because they were -- in the claim, it was



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      1    referring to the characterization of a digital image or

      2    video maybe.    I'd have to look at the claim to tell you

      3    for sure.    And I didn't know what -- based on my review

      4    of the material what sort of characterization they were

      5    referring to.

      6          Q.    Is "characterizing" a technical term?

      7          A.    Not particularly.     Not -- it wasn't introduced

      8    as a technical term in the -- in the patent.

      9          Q.    What do you -- what would you understand --

     10    what would you understand "characterizing" to mean?

     11          A.    Well, my basic problem is it could -- it's

     12    incredibly broad.     Maybe you're characterizing the video

     13    as a comedy, drama, or musical.        I don't think that, you

     14    know, is probably what the claim is going after, but

     15    based on the teachings of the patent, I don't know.

     16    Maybe that's enough of a -- some sort of

     17    characterization.     That was kind of the crux of my

     18    problem with that term.

     19          Q.    And your opinion on characterizing is on

     20    page 9 of your declaration?

     21          A.    Looks like it begins on 9, ends on 10, yeah.

     22          Q.    Yes.   What materials did you review in

     23    formulating your opinions on characterizing?

     24          A.    The materials we've already discussed.

     25          Q.    The '435 patent is something that you



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      1    reviewed?

      2           A.   Yes.

      3                       MR. RUNYAN:   Objection, vague.

      4           Q.   (BY MR. LEE)    Did you review the -- did you

      5    review the file history of the '435 patent in

      6    formulating your opinion on characterizing?

      7           A.   Yes.

      8           Q.   You also relied on your experience in the

      9    field of digital video -- digital video systems in

     10    formulating your opinion?

     11           A.   Yes.

     12           Q.   Did you rely on any other materials in

     13    formulating your opinion on characterizing?

     14           A.   I don't recall anything else.       If I had, I

     15    would have cited it in the document here.

     16           Q.   So you did not review or consider materials

     17    from previous cases concerning the '435 patent?

     18           A.   I recall at some point someone giving me a

     19    declaration from another expert in the '435.          I believe

     20    I read it very early on.       I couldn't tell you what the

     21    name was or what was -- what was discussed in that

     22    declaration.    I don't know if this term was in there or

     23    not.    I just -- I do recall looking at that at some

     24    point.

     25           Q.   Did you rely -- did that declaration influence



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      1    your opinions in this case -- or in this declaration?

      2          A.    No.   Like I said, I don't even recall what

      3    it said at this point.      I just know it was something

      4    that was provided to me early on and I looked at it

      5    briefly.

      6          Q.    Was there any other materials that you

      7    reviewed that's not listed in your declaration?

      8          A.    At some point, I saw some sort of chart that

      9    basically had your proposed constructions, so I had an

     10    understanding of what the -- what Lone Star viewed the

     11    constructions were.      That's the only other type of

     12    document I can remember looking at.        And again, it

     13    didn't form my opinion at all.        It just was information

     14    that I had access to.

     15          Q.    Did you have access to briefings from prior

     16    litigation cases concerning the '435 patent?

     17          A.    I don't recall anything that I would call a

     18    briefing.    I recall this one declaration from this other

     19    expert.    I don't believe I saw anything that looked like

     20    a briefing.

     21          Q.    Did you review any claim construction briefs

     22    and filings from prior cases concerning the '435 patent?

     23          A.    I don't believe so.     I don't recall anything

     24    like that.    I don't believe I had access to anything

     25    like that.



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      1          Q.    Did you know that there was a Markman hearing

      2    concerning the '435 patent in a prior case?

      3          A.    I guess I don't know that.       I had -- like I

      4    said, I had this conversation very early on about this

      5    other declaration.     I might have been told something at

      6    that point.    I recall looking at it.       I certainly don't

      7    remember any of the details of the declaration or what

      8    happened in that prior case.

      9          Q.    Were you aware that in a prior case the court

     10    had a -- had a preliminary proposed construction for

     11    some of the claim terms at issue in this case?

     12          A.    I -- I don't -- I don't believe I ever heard

     13    something like that, no.       Again, though, it could have

     14    been part of that very early conversation I had about

     15    this other declaration which I -- I don't remember

     16    anything about, really.      I just know I -- I know I had

     17    access to it.      I know I had some sort of conversation.

     18    I don't really remember what the contents of the

     19    conversation was.

     20          Q.    So for this declaration, what you've -- your

     21    opinion is based upon the '435 patent, its file history,

     22    and your industry experience?

     23          A.    Yes.   As I said, those are the things I -- I

     24    primarily relied on, the only thing I can think I relied

     25    on.   If I relied on anything else, it's certainly in my



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      1    practice to cite those things.        Without rereading

      2    everything, I couldn't tell you if it's everything I

      3    cited.     If it's not cited, I don't think there's

      4    anything else.

      5          Q.     All right.   I just want to be clear I

      6    understand.     When you say "primarily," is there

      7    something else you secondarily relied on?

      8          A.     Well, that's why I -- that's why I cleared up

      9    what I meant by that.      As soon as I said that, I knew

     10    that word was going to catch your attention.

     11                      What I'm -- what I'm trying to say is

     12    those are the big things that certainly come to mind

     13    right away.     If there's something that would be minor, I

     14    would have cited it someplace else.        If I -- without

     15    rereading the entire declaration, which I can do, I

     16    don't recall any cites.      If there is a cite, that would

     17    be something I also looked at.        But without rereading, I

     18    don't know.     I don't believe so because I don't recall

     19    it, but...

     20          Q.     When you -- if I can turn your attention to

     21    paragraph 24.     What do you mean by when you wrote, "As

     22    such, applicants of the '435 patent created this term to

     23    attempt to describe the alleged invention,"

     24    Dr. Stevenson?

     25          A.     Are you asking me what did I mean by that



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      1    sentence?

      2          Q.     Yes.

      3          A.     Well, what I'm trying to get across -- and I

      4    think maybe to fully appreciate what I'm saying there,

      5    you have to look at the term in the context of the

      6    claim.     The -- it's being used in a -- I don't know what

      7    you want to call it -- a kind of a technical way.           You

      8    have to do something to the image.        You have to

      9    characterize.       So it's being used as a technical -- in a

     10    sort of technical way in the structure of the claim, but

     11    it doesn't -- it doesn't have any particular technical

     12    meaning, and yet, they're introducing it some way.

     13                        I looked at the specification to try to

     14    understand what they might mean by that, and there's

     15    just nothing in the specification that talks about the

     16    characterization of a digital image, so I -- that's why

     17    I'm kind of left to no -- unknown as what they mean by

     18    that term.

     19          Q.     In paragraph 25 -- in paragraph 25, it says --

     20    you write:    Parts of the specification discuss colors or

     21    color components as being characterized by linear

     22    combinations of the basic colors red, green, and blue.

     23                        Doesn't that provide you with guidance on

     24    what characterizing means?

     25          A.     It provides guidance of what they might



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      1    technically mean about characterizing a color.          But

      2    that's not what's being characterized in the claim.            So

      3    if the claim had something about characterizing the

      4    color, I would probably look to those parts of the

      5    specification to understand what was being referred to.

      6    But that's not the claim language.        The claim language

      7    is about characterizing a digital image, and so then

      8    I'm -- this is where I'm left not knowing what they

      9    mean.

     10          Q.     But when you're characterizing linear --

     11    linear combinations of red -- basic colors of red,

     12    green, and blue, aren't you characterizing a digital

     13    image?

     14          A.     No.   You're characterizing a color, as the --

     15    as the patent clearly states.

     16          Q.     And a color is part of an image, isn't it?

     17          A.     Not necessarily, no.

     18          Q.     Why do you say that?

     19          A.     You could have a color fabric.      Fabric can be

     20    a color and has nothing to do with a digital image at

     21    all, so I'm not sure why that's confusing.          Color is

     22    color.     It's not a digital image.     It's something

     23    different.

     24          Q.     Digital image doesn't have color?       Is that

     25    what you're saying?



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      1          A.     Some digital images we refer to as having

      2    color.     Not all.

      3          Q.     What digital image doesn't have color?

      4          A.     There's lots.    There's -- you know, certainly,

      5    you could start with black and white images, intensity

      6    images.     I use --- I do a lot of thermal images in my

      7    work, so they don't have color.        We also do things that

      8    we call using pseudocolor when we're talking with

      9    hyperspectral images.       So a lot of images don't have

     10    color.

     11          Q.     What is your understanding of characterizing

     12    to mean in the normal context?

     13                      MR. RUNYAN:    Objection, vague.

     14          A.     I don't know what you mean by "normal

     15    context."

     16          Q.     (BY MR. LEE)    If we were not talking about the

     17    patent and I asked you to define "characterizing," how

     18    would you define it?

     19          A.     I'd probably have to give some thought to

     20    that.    I haven't tried to define it outside the context

     21    of the patent.

     22          Q.     In paragraph 10 of your declaration, you write

     23    in the last sentence of the paragraph:         In the course --

     24    in this course, I covered many topics related to digital

     25    video systems including concepts of color, its



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      1    modification, and its characterization using attributes

      2    such as hue and saturation.

      3                        What does "characterization" mean there?

      4          A.     Well, I'm specifically talking about color, so

      5    I'm talking about the same sort of ideas that are talked

      6    about in the patent in terms of characterizing the

      7    color.     Specifically, you know, I even mentioned hue and

      8    saturation, so I'm using it the same way the patent is

      9    using it.

     10          Q.     You're using it the same way as the patent is

     11    using it; is that what you just stated, Dr. Stevenson?

     12          A.     In terms of it talks about -- as we already

     13    discussed, the patent talks about how it characterize --

     14    how color can be characterized.        In the patent, they

     15    talk about red, green, and blue.        You know, hue and

     16    saturation are another type of characterization of

     17    color.

     18          Q.     So you understand what "characterization"

     19    means in paragraph 10 of your declaration?

     20          A.     Yes.

     21          Q.     And what does it mean in paragraph 10 of your

     22    declaration?

     23          A.     Well, as I'm talking about here in this

     24    paragraph 10, I'm talking about color, and I'm talking

     25    about some of the things we can -- we can do in order to



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      1    describe its characteristics that are, you know, maybe

      2    relevant to something.      So the characteristics I'm

      3    talking about here are hue and saturation, so I view

      4    those as characteristics of color.

      5          Q.    And characterization as you've used it on

      6    paragraph 10 is not indefinite?

      7                      MR. RUNYAN:    Objection, calls for a legal

      8    conclusion, irrelevant in the con- -- out of context.

      9          A.    You know, look, I recognize that the word

     10    "characterization" is an English word that can be

     11    properly used in English.       My problem is, within the

     12    patent, in the context of the patent and specifically

     13    the context of how it's used in the claims, it's used in

     14    a technical way because they're talking about

     15    characterization of a digital image and I don't know

     16    what that means there.

     17                      If it -- if it had provided any example, I

     18    could maybe say something about it, but there's

     19    nothing -- like I said, you know, in my prior example,

     20    maybe a characterization of a video to someone may mean

     21    a comedy, a drama, or a musical.        That doesn't seem like

     22    that should fall within the scope of the patent based on

     23    the teachings of the patent, so I have a problem with

     24    understanding the scope of the patent.         It feels like

     25    that term is indefinite because I don't understand the



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      1    scope of it because of the use of that word in the

      2    context they put it in in the claim.

      3          Q.    (BY MR. LEE)    Is there anything from a -- in

      4    the '435 patent that would lead you to believe that

      5    characterization or characterizing would mean

      6    characterizing a drama or a comedy?

      7          A.    Well, you know, that is the basic -- my basic

      8    problem.    There's nothing in the patent that would lead

      9    me to attribute anything to it, so that's -- that's the

     10    crux of the issue.     There's nothing there.       There's

     11    nothing about -- that talks about how one might

     12    characterize a digital video.       And as a result, I think

     13    the term is indefinite as it's used in the claim.

     14          Q.    You said on paragraph 25 -- and that's two

     15    cites to the '435 patent:       Column 6, 44 to 46 and 40 to

     16    50.   Are those your support in the patent to support

     17    your position?

     18          A.    Well, what I'm doing in paragraph 25, because

     19    I expected this would be the sort of response, you know,

     20    someone else would say, which is, the word

     21    "characterization" is used in the patent, and so I

     22    talked about it.     I talked about how it was used in the

     23    patent in this paragraph.       And this is the only places

     24    where I found that -- the word being used, I understood

     25    something from it, and I understood that it was



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      1    character- -- you know, how the patentee looked at

      2    characterizing a color.

      3          Q.    So why wouldn't you understand characterizing

      4    to mean -- to mean characterizing of colors or color

      5    components characterized by linear combination of basic

      6    colors, red, green, blue, and RGB space?         Doesn't that

      7    provide the guidance on how to characterize the digital

      8    image?

      9                      MR. RUNYAN:    Objection, vague, compound,

     10    argumentive.

     11          A.    No.   It doesn't in any way provide a limited

     12    scope that I would understand.        You know, there's lots

     13    of things I could -- you could talk about a digital

     14    image that I don't believe, you know, the patentee

     15    talked about at all.      I'm not sure why I would just

     16    select these, this one particular thing.

     17          Q.    (BY MR. LEE)    I'm marking as Exhibit 3

     18    U.S. Patent Number 6,724,435.

     19                         (Exhibit 3 marked.)

     20          Q.    (BY MR. LEE)    You cited to Column 6 in your

     21    declaration on characterizing; is that correct,

     22    Dr. Stevenson?

     23          A.    I believe we just saw that.

     24          Q.    And you didn't cite to anywhere else in the

     25    '435 patent on characterizing; is that correct?



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      1          A.    I mean, we'd have just to reread my section to

      2    see if I did or not.      Do you want me to reread?

      3          Q.    Sure.   Please do.

      4          A.    That seems to be the -- where I cite to talk

      5    about -- you know, point out where they do talk about

      6    characterization.

      7          Q.    And that's your only citation in the -- to the

      8    '435 patent for characterizing; is that correct?

      9          A.    Well, I think you're making my point for me.

     10    The patent doesn't talk about characterizing the digital

     11    image, so there is no cites because the patent doesn't

     12    talk about it, and that's the crux of the problem as to

     13    why I believe it's indefinite.

     14          Q.    When we go to Column 1 of the '435 patent,

     15    lines 42 to 45, different formats are used for

     16    characterizing colors or color components in a real time

     17    digital video image.

     18                      You don't consider that being instructive

     19    on how to characterize a digital video image,

     20    Dr. Stevenson?

     21          A.    No, I don't.

     22          Q.    You made the statement earlier that the

     23    '435 patent doesn't talk about characterizing anywhere

     24    else besides to where you pointed to in your

     25    declaration, but that's not true.        It's talking about



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      1    characterizing here, Dr. Stevenson; isn't that correct?

      2          A.    Okay.   Well, let me amend my previous

      3    statement since you're -- you want to be nitpicky about

      4    this.   They don't talk about it in any different way.

      5    This is talking about it in exactly the same way as

      6    Column 6, as characterizing colors.        So I guess I didn't

      7    cite every utterance of the phrase "characterizing," but

      8    I believe I cited how they used "characterizing" within

      9    the context of the patent, which is in characterizing

     10    colors and not in characterizing digital video images.

     11          Q.    So what you're saying is, even though this

     12    cite talks about characterizing colors or color

     13    components in a real time digital video image, you're

     14    concluding that that's characterizing colors and not

     15    characterizing a real time digital video image?

     16          A.    Well, that's what the sentence says.

     17          Q.    If a color is in a real time digital video

     18    image and it's being characterized, doesn't it teach or

     19    provide guidance on how to characterize a real time

     20    digital video image, Dr. Stevenson?

     21                      MR. RUNYAN:    Objection, vague.

     22          A.    If I talk about the broad concept of

     23    characterization or characterizing an image, there are,

     24    you know, things like the dimensions, the number of

     25    pixels, you know, when it was captured, that are



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      1    technical in nature that have -- are relevant to any

      2    sort of implementation that I don't believe fall within

      3    the scope of the patent but which are captured by this

      4    idea of characterizing.      So I don't believe they

      5    disclosed anywhere what they mean by characterizing a

      6    digital video image.      They disclose ideas of how they're

      7    going to characterize colors.

      8          Q.    (BY MR. LEE)    Following your logic, when the

      9    patentee in the specification states in Column 1,

     10    line 46, in another format, a real time digital image

     11    features colors or color components characterized by the

     12    linear combinations of the basic color yellow, cyan, and

     13    magenta in the YCM color space, you would conclude that

     14    that's not characterizing a real -- teaching about

     15    characterizing a real time digital video image?

     16          A.    As I -- as I've repeatedly said now -- I'm not

     17    sure why you keep going back to this, but I believe the

     18    patent does talk about characterizing color.          It talks

     19    about it several places, as we've seen as you walked

     20    through, on how to characterize color in terms of things

     21    like RGB color space.

     22                      The way that term is used in the claims is

     23    not that.    It's not about characterizing colors.

     24    It's -- if it was about characterizing colors, we'd have

     25    a different conversation.       It's about characterizing the



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      1    digital image in a technical way.        It's used in a way

      2    that we're saying we are doing something technically

      3    speaking.

      4                      I don't know what the limits of that are

      5    in the claim.     You -- this doesn't disclose that.        It

      6    doesn't disclose that this is what they mean by

      7    characterizing the digital image.

      8          Q.    Can you provide a hypothetical in which

      9    characterizing would be disclosed, in your view?

     10          A.    I'm not sure what you're asking.

     11          Q.    You're saying characterizing is not disclosed

     12    in the patent for a real time digital video image.           What

     13    would be an example of characterizing being disclosed

     14    that would satisfy your -- your level of scrutiny?

     15                      MR. RUNYAN:    Objection, irrelevant, lacks

     16    foundation, calls for speculation.

     17          A.    I think anything that clearly stated what the

     18    scope of the claim was in terms of how you go about

     19    characterizing the digital image would be -- would be

     20    fine.

     21          Q.    (BY MR. LEE)    So it's your view, where the

     22    patent talks about characterizing in the patent, it

     23    doesn't satisfy you on what it means to be

     24    characterizing a digital video image as used in the

     25    claim term; is that what I understand it to be?



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      1          A.    I think --

      2                      MR. RUNYAN:    Objection, mischaracterizes

      3    testimony.

      4          A.    I think -- I think I've been very clear.

      5    The -- while the patent does talk about characterizing a

      6    color, no place could I find where someone of ordinary

      7    skill of the art having read the patent would understand

      8    what they mean by characterizing a digital image so that

      9    they would understand the scope of the claims.

     10                      MR. LEE:    Can we go off the record?

     11                      MR. RUNYAN:    Sure.

     12                      THE REPORTER:    Off the record.

     13                (Break taken from 2:52 to 3:02 p.m.)

     14                         (Exhibit 4 marked.)

     15          Q.    (BY MR. LEE)     I'm marking as Exhibit 4 an

     16    article entitled, "Estimation-theoretic approach to

     17    dynamic range enhancement using multiple exposures,"

     18    authored by Mark A. Robertson, Sean Borman, and Robert

     19    L. Stevenson.

     20                      Do you recognize this article,

     21    Dr. Stevenson?

     22          A.    It's certainly been a long time since I've

     23    looked at it, but I recall it.

     24          Q.    This is something where you are a coauthor,

     25    correct?



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      1          A.    Yes.   There's two -- the two other authors are

      2    Ph.D. students of mine.

      3          Q.    If I can point your attention to page 222 of

      4    this article, the right column, the last paragraph, the

      5    second sentence says:      Note that accurately

      6    characterizing the noise term Nij would be extremely

      7    difficult as it would require detailed knowledge of the

      8    specific image capture process being employed.

      9                       Do you see that there, Dr. Stevenson?

     10          A.    Yes.

     11          Q.    Do you understand what characterizing means

     12    for that sentence for this article?

     13          A.    Well, probably, a full explanation, we'd have

     14    to go into other parts of the article.         But I'm

     15    certainly talking about how you might go about

     16    characterizing a noise in an imaging system.

     17          Q.    And how do you use "characterizing" in this

     18    context, in this article?

     19          A.    Here, I'm talking about the idea of -- well,

     20    without rereading the patent, I couldn't tell you for

     21    positive, but given the work I was doing at this time,

     22    I'm almost definitely talking about the idea of

     23    statistical characterization, so estimating something

     24    like a probability density function or distribution

     25    function so that I can work it into the estimation



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      1    problems that is being posed here.

      2          Q.    And in this context, you would understand what

      3    characterizing means?

      4          A.    Because there's extensive discussion

      5    throughout this paper of noise and how you go about

      6    characterizing it, you know, kind of the exact opposite

      7    of the patent and the -- and the issue with the patent.

      8                      And clearly, this sort of characterization

      9    I don't believe is a relevant -- is relevant to the

     10    patented technology, so it's -- it's again pointing out

     11    the problem with the patent.

     12          Q.    Is there anything --

     13          A.    Because we don't mean this.

     14          Q.    But you do understand what characterizing

     15    means in this article- -- for this paper, correct?

     16          A.    I feel like we're just going -- we're circling

     17    back to -- yes, and I agree that the word

     18    "characterizing," "characterization," that's a word in

     19    the English language.      Someone can use it in an English

     20    sentence, and it makes sense.

     21                      It doesn't -- you know, it doesn't address

     22    the issue that in the patent it's used in a technical

     23    way to talk about some aspect of a digital image that is

     24    not at all described in the patent.

     25                      So I don't -- you know, beyond the fact



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      1    that I can agree that "characterization" is an English

      2    word, it just is not described in the patent.          I don't

      3    know what they mean in the context of the claim.

      4          Q.    Is your position on "characterizing"

      5    inconsistent with any of your prior publications,

      6    speeches, talks, papers?

      7                      MR. RUNYAN:    Objection, vague, lacks

      8    foundation.

      9          A.    I -- you know, like I said, "characterization"

     10    is a word or "characterize" is a word I recognize from

     11    the English language.      I believe it can be used by an

     12    English speaker and given context someone would

     13    understand what I might be talking about.

     14                      Like, for example, in the paper, I was

     15    talking about characterizing the statistical properties

     16    of a noise source.      That has a well understood technical

     17    meaning.

     18                      Here, in the patent, they're using it in a

     19    technical way.     They're talking about characterizing

     20    something, in this case, a digital image; yet they --

     21    they don't indicate how that is done, so it's -- it's

     22    just indefinite.

     23          Q.    (BY MR. LEE)    You don't have a legal

     24    background, do you, Dr. Stevenson?

     25          A.    I do not.



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      1          Q.    You don't have a law degree, do you?

      2          A.    I do not.

      3          Q.    Do you have legal experience to qualify you to

      4    provide a legal conclusion on whether the patent is

      5    definite or indefinite?

      6          A.    I'm not trying to provide a legal conclusion.

      7    I'm trying to provide an opinion of how one of ordinary

      8    skill in the art would understand terms in a claim.

      9                       In my opinion, from a technical person,

     10    having read that, would not know how that term is being

     11    used in that claim.      And my understanding is, if a

     12    technical person doesn't understand how that word is

     13    used, doesn't understand its meaning in the scope of the

     14    claim, that's what I believe the lawyers call

     15    indefinite.    So if I'm somehow using that wrong,

     16    that's -- I'm sorry I have the law slightly wrong.

     17                       My fundamental opinion is, one of ordinary

     18    skill in the art having read that term would not

     19    understand the scope of the claim, would not understand

     20    what is covered and what is meant by the phrase

     21    "characterizing" as it's used in the claims.

     22          Q.    If I could turn your attention to

     23    paragraph 27, this is the -- concerning the claim term

     24    "individual color," correct?

     25          A.    Yes.



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      1          Q.    You state that the term "individual color" is

      2    expressly defined in the '435 patent in Column 1,

      3    lines 20 to 21; is that correct?

      4          A.    That's what my sentence says.

      5          Q.    And you -- in your opinion, the term should be

      6    defined as a linear combination of colors or color

      7    components?

      8          A.    Yes.

      9          Q.    If I can turn your attention back to the

     10    '435 patent, Column 1, line 20 to 21:         Herein, an

     11    individual color represents the linear combination of

     12    colors, color components, such as red, green, blue,

     13    yellow, cyan, and magenta.

     14                       It goes on to say:    Wherein, RGB color

     15    space the basic colors are -- color components are red,

     16    green, and blue.

     17                       Do you see that, Dr. Stevenson?

     18          A.    Yes.

     19          Q.    Why did your definition stop at "linear

     20    combinations of colors or color components"?

     21          A.    Because the rest of that sentence doesn't

     22    really add anything to the definition.         It's just kind

     23    of an example, I guess, tells you the next part of the

     24    definition.

     25          Q.    You said they defined it.      That's a whole



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      1    sentence there.     Why is the --

      2          A.    Where did I say a whole sentence?

      3          Q.    You cite to -- you cite to -- it's the last

      4    sentence of paragraph 27:       This term is expressly

      5    defined in the '435 patent Column 1, 20 through 21.

      6                      So is it your position that that

      7    definition is -- stops at color components and then the

      8    other language, "such as red, green, blue, yellow, cyan

      9    and magenta" and so on is not part of the definition?

     10    How did you determine that that's the definition?

     11    Because that sentence says "herein," and it defines what

     12    individual color is.

     13          A.    Well, I see --

     14                      MR. RUNYAN:    Objection, vague, compound.

     15          A.    Well, I see everything after the -- I guess

     16    it's the second comma where it starts the "such as,"

     17    those are just kind of an example.        I don't see where

     18    that's part of a definition.       It's just here's an

     19    example of what I mean by that -- by the -- by the

     20    definition I just gave you.

     21          Q.    (BY MR. LEE)    What you're saying is an

     22    example, is it inconsistent with the definition?

     23          A.    I'm sorry.    I missed the words.     "Consistent"

     24    or "inconsistent"?

     25          Q.    So you're defining -- consistent --



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      1    inconsistent.

      2                      You're defining, in your view, the

      3    definition should be "linear combination of colors or

      4    color components."     I'm asking whether "such as red,

      5    green, blue, yellow, cyan and magenta" is inconsistent

      6    with your definition?

      7          A.    I'm sorry.    Something about the way you're

      8    saying "consistent," I can't tell if it's "consistent"

      9    or "inconsistent."

     10          Q.    Inconsistent.

     11          A.    Inconsistent.    I view it as just an example.

     12    It's not -- it's inconsistent.        It's just I don't need

     13    to go -- in terms of a definition, I don't need that in

     14    terms of a definition.      It's just -- you know, it's a

     15    linear combination of color or color components, period.

     16    I could have rewritten that sentence easily, you know,

     17    combination of color or color components, period, for

     18    example, red, green, and blue, you know, provided an

     19    example that way.     I mean, it's -- that's all I see.        So

     20    I don't see why that should be part of the definition.

     21          Q.    What's wrong with the plaintiff's definition

     22    of an individual color?

     23          A.    I -- you'd have to remind me what their

     24    definition is.

     25          Q.    I'm assuming you considered a definition



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      1    because you mentioned you reviewed the parties'

      2    constructions, as well as the '435 patent, its file

      3    history, your industrial knowledge in formulating your

      4    opinion.    Was there anything wrong with the plaintiff's

      5    proposed construction?

      6          A.    Well, as I --

      7                      MR. RUNYAN:    Objection, vague, compound.

      8          A.    I did not memorize the definition, so I don't

      9    have your definition memorized.        I definitely considered

     10    it.   I definitely looked at it, and I considered it.

     11                      Sitting here today, since I don't have it

     12    memorized and you're asking me a very specific question

     13    about what is wrong with it, I would like to be reminded

     14    of what their -- your definition is.         I don't have it

     15    written in here.     I don't complain about it specifically

     16    that I know what it's -- I could recall.         So I'm just

     17    asking for clarification of what your definition is if

     18    you want me to answer the previous question.

     19          Q.    (BY MR. LEE)    I'm trying to understand, when

     20    you wrote this declaration, if you had -- whether you

     21    had any issues with plaintiff's construction.          You

     22    didn't --

     23          A.    And you -- and you want me to answer that

     24    without --

     25          Q.    Well, I mean, I guess, if you had any -- let



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      1    me ask it this way:      If you had any issues with it,

      2    would you have put it in your declaration?

      3          A.     And you want me to answer this without

      4    reminding me what the definition is?

      5          Q.     I'm not -- I'm asking you if the -- that's not

      6    what I'm doing.     You're twisting my words,

      7    Dr. Stevenson.

      8                      I'm trying to understand if you had

      9    issues with -- if you had issues with plaintiff's

     10    positions, would you not have put it in your

     11    declaration?

     12          A.     Without recalling the definition, I don't know

     13    if I would have or not.

     14          Q.     When you said you relied -- you reviewed the

     15    '435 patent and its file history, you didn't cite to the

     16    '435 patent file history, did you?

     17          A.     I don't recall doing that.      I recall the file

     18    history being pretty brief, not much there, one of the

     19    shorter file histories I've ever looked at.

     20          Q.     Did you re- -- and I'm showing you the first

     21    page of the '435 patent.       Did you review any of the

     22    patent documents that were cited on the face of the

     23    patent?

     24          A.     I don't believe so.    I don't recall any of

     25    those.     I'd have to look at them, probably, to know for



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      1    sure.

      2          Q.    In Column 2 of the '435 patent, lines 8

      3    through 10, this patent talks -- refers to U.S. Patent

      4    Number 6,122,012 by the same inventor of the present

      5    invention.    There's disclosed a method of selective

      6    color control of digital video images.

      7                      Did you review the 6,122,012 patent in

      8    preparing and formulating your declaration?

      9          A.    Since it wasn't incorporated by reference, no,

     10    I did not, because it's not -- it's just a cite.           If it

     11    had been incorporated by reference, I definitely would

     12    have.

     13          Q.    If I can turn your attention to paragraph 28,

     14    "Input Image Pixel," it's your opinion the term should

     15    be construed as image data including an integer row, an

     16    integer column, and color component values for each red,

     17    green, and blue.

     18                      How did you come up with this definition?

     19          A.    From the patent, reading the patent.

     20          Q.    And that's why you wrote in the next

     21    paragraph, Number 29, "This is confirmed in the

     22    specification"; is that -- is that correct?

     23          A.    You know, I -- I wrote these two paragraphs

     24    based on how I understood that the term was being used

     25    by the patentee and how one of ordinary skill in the art



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      1    having read the patent would understand that term in the

      2    claim.

      3          Q.    And you considered -- did you consider the

      4    file history of the '435 patent for your -- for your

      5    proposed definition?

      6          A.    I did.

      7          Q.    Did you review the 6,122,012 patent in

      8    formulating your position?

      9          A.    You have to remind me what patent that is.

     10          Q.    That was the patent that was referenced in

     11    Column 1 -- Column 2 of the '435 patent by the same

     12    inventor.

     13          A.    Since it wasn't part of the intrinsic record,

     14    it didn't -- it didn't seem appropriate to be referring

     15    to that in terms of how one of ordinary skill in the art

     16    would understand that term in the -- in the patent, so I

     17    specifically would not have.

     18          Q.    What does "input image pixel" mean outside the

     19    context of the patent?

     20          A.    I didn't try to form a definition for it

     21    outside the context of the patent.

     22          Q.    In the digi- -- in your experience in the

     23    digital video image field, what does "input image pixel"

     24    mean to you?

     25          A.    It depends very much on the context.        It means



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      1    different things in different contexts.

      2          Q.    Can you provide examples?

      3          A.    Sure.   In a -- in a camera system, so if I was

      4    building a digital camera or video camera, quite often

      5    we talk about the sensors that make up the CCD ray as

      6    the pixels or the input image pixel, so that -- that's

      7    the data that receives the light that generates

      8    something in a digital video system that we call a

      9    pixel.

     10                      In a -- in a display system, when we talk

     11    about monitors, the monitors we talk about the

     12    individual -- for example, an LCD monitor has individual

     13    pixels depending on where you're -- you know, what part

     14    of the system you're looking at, you talk about the CCD

     15    elements being input image pixels.

     16                      In the image processing, you know, with

     17    some of the processing stuff you see, it has to do with,

     18    you know, aspects of the image.        So it depends on the

     19    context.

     20          Q.    What is a preferred embodiment?

     21                      MR. RUNYAN:    Objection, calls for a legal

     22    conclusion.

     23          A.    You know, my understanding of, you know, this

     24    concept of what the lawyers call "preferred embodiment"

     25    is that the -- you know, the patent -- the claims of the



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      1    patent's scope are not limited necessarily by the --

      2    what's called the preferred embodiment in the patent,

      3    you know, whatever the inventor thought what was the

      4    best way of implementing their particular invention was.

      5                      And so we talk about, you know, the

      6    patentee, when they write the specification, might

      7    clearly lay out what they think is the best way of

      8    implementing it, and that's called the preferred

      9    embodiment, but the scope of the claims can be broader

     10    than that.

     11          Q.     (BY MR. LEE)   Moving on to the next term,

     12    "Forming a corresponding plurality of output image

     13    pixels having said selected individual color,"

     14    paragraph 30 of your declaration, you define that term

     15    to be:     Forming a plurality of output image pixels that

     16    correspond to one of the plurality of input image pixels

     17    that have said selected individual color in the real

     18    time digital video input image with the hue or the

     19    saturation selected to be independently changed, the

     20    output image pixels having said selected individual

     21    color.

     22                      How did you come up with -- how did you

     23    come up with this definition, Dr. Stevenson?

     24          A.     Well, in this particular element, the -- I

     25    thought there needed to be some clarification because of



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      1    the -- you know, you might say the context of the

      2    patent.

      3                      The -- in particular the idea of what was

      4    the selected individual color, you know, that's

      5    something that comes from earlier in the claim.          And

      6    this is -- you know, this is talking about -- and that's

      7    not just clear -- that's not really -- what that means

      8    is not completely clear from, you know, this phrase by

      9    itself, and so I felt there was some clarity needed

     10    about what was contained in the output image pixels,

     11    right?

     12                      So this -- so you know -- but the language

     13    is trying to get across that it has the selected

     14    individual color which is the color that the individual,

     15    the viewer, had chosen as the one we're going to modify

     16    the hue and possibly modify the hue and saturation of.

     17    So I thought the definition provided clarity.

     18          Q.    And you cite to the Column 11, lines 14

     19    through 30, to support your position; is that correct?

     20          A.    That looks like something I cite, yes.

     21          Q.    How does your definition provide clarity?

     22                      MR. RUNYAN:    Objection, asked and

     23    answered.

     24          A.    As I -- as I said already, I thought the

     25    phrase by itself, it was un- -- it -- you had to



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      1    understand what the selected individual colors that's

      2    being referred to as part of the output image, what that

      3    was referring to.      And that was -- you have to look at

      4    the rest of the claim to understand that.         And so what's

      5    the selected individual colors are, you know, what I put

      6    in the definition there, it's the colors -- the

      7    individual colors that the viewer had selected in order

      8    to, you know, selectively change the hue or saturation.

      9          Q.    (BY MR. LEE)    The next term, "By performing

     10    arithmetic and logical operations," it's your opinion

     11    that this term is indefinite, correct?

     12          A.    Yes.

     13          Q.    Why is it -- why, in your opinion, is it

     14    indefinite?

     15          A.    It's -- it's not identifying in the claim

     16    language, you know, how it's used in the claim, it's,

     17    you know, just based on the plain English language,

     18    quite frankly.     It's not -- we don't know what operation

     19    is done by performing arithmetic and logical

     20    operators -- operations.

     21                       There's two in the claim that possibly

     22    could be it depending on, you know, which one you

     23    choose.    Or maybe, I guess, you could choose both.         I

     24    don't know.    But the claim is just -- you know, this

     25    causes the claim to be indefinite because we don't know



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      1    what we are doing by performing arithmetic and logical

      2    operations.

      3                      I think I spell it out.      It's -- this

      4    aspect about identifying particular pixels and another

      5    one about changing them.       I don't know, from the way the

      6    claim language is written, which one of those things is

      7    done by performing arithmetic and logical operators.

      8          Q.    The next term, "Evaluating and Evaluated," why

      9    are those term -- why are the terms "evaluating" and

     10    "evaluated," in your opinion -- why is it your opinion

     11    that these two -- that these terms are indefinite?

     12          A.    Well, it's somewhat similar to our previous

     13    conversation about "characterizing."         I recognize the

     14    words "evaluating" and "evaluated" are part of the

     15    English language and can be used in the English

     16    language.    But here in the context of the claims,

     17    they're talking about something particularly technical

     18    and something that's being evaluated.

     19                      In fact, we call it something about the --

     20    the hue control and saturation control is being

     21    evaluated.    I could find nothing in the patent that is

     22    telling me what that means.       I don't know how to

     23    evaluate hue control or the -- or the saturation

     24    control, so I don't know what that means.

     25                      And I don't think someone of ordinary



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      1    skill in the art would understand what they mean and

      2    what scope they're -- the claim they're trying to claim

      3    here with that use of that language.

      4          Q.    And this is -- you give the same similar

      5    reasons for "characterizing" that you had earlier in our

      6    discussion; isn't that correct?

      7          A.    Well, I mean, I think my position has --

      8                      MR. RUNYAN:     Could you -- I didn't hear

      9    that question clearly at all.         I'm sorry.   Could you

     10    repeat that, John?

     11                      MR. LEE:    Yes.

     12          Q.    (BY MR. LEE)     Is your -- we went round and

     13    round on "characterizing" earlier.        Is your opinion on

     14    "evaluating" and "evaluated" using a similar rationale

     15    as "characterizing"?      Or --

     16          A.    Well, I -- it's similar --

     17                      MR. RUNYAN:     Objection, vague.

     18    Objection, vague, mischaracterizes testimony, compound.

     19          A.    It's similar in the sense I already mentioned.

     20          Q.    (BY MR. LEE)     So when it says evaluating, you

     21    know, independent color hue control functions, you don't

     22    know what exactly of hue -- of hue control color

     23    function is being evaluated?         Is that what you're

     24    saying?

     25          A.    I don't -- I don't know how to perform that



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      1    evaluation.    I don't know what that evaluation entails

      2    or what the scope of that evaluation is.         It actually

      3    doesn't make much sense to me to use "evaluating" in

      4    that context, but they do.       And I don't find it -- I

      5    don't find any way -- I don't find anything in the

      6    patent that illuminates what they mean there.

      7          Q.    So if -- when we go to the '435 patent, Column

      8    Number -- Column Number 11, line 62, and it goes -- it

      9    talks, in context, as having the individual color in

     10    real time digital video input image whose hue or

     11    saturation was selected to be independently changed by

     12    separately evaluating independent color hue control

     13    functions, F, color -- F, function, color hue or

     14    independent color saturation control functions.

     15                      That doesn't help provide guidance on what

     16    "evaluating" means?

     17          A.    No.   If I recall, that's pretty much the same

     18    language that's used in the claim, so it provides no

     19    clarity whatsoever about what the claim means.          It's --

     20    I think it's pretty much a repeat.

     21                      That sentence says nothing about how you

     22    actually do an evaluation or what that evaluation might

     23    be.   It just says you're going to do it.

     24                      MR. LEE:   If we could take another quick

     25    break for another 10 minutes.



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      1                      MR. RUNYAN:    All right.

      2                (Break taken from 3:41 to 3:50 p.m.)

      3          Q.    (BY MR. LEE)    Dr. Stevenson, for the term

      4    "viewer," you rendered a legal opinion, correct?

      5          A.    I rendered a what?

      6          Q.    A legal opinion that the claim term is --

      7    your -- it's your opinion the term requires -- must be

      8    performed by someone as claimed; is that correct?

      9          A.    I'm sorry.    Your question started one way and

     10    went a different direction.       Maybe you could state a

     11    clear question.

     12          Q.    Paragraph Number 40, you write that viewer

     13    means a human; as used in Claim 17, it illustrates that

     14    the recited method steps, as discussed below, must be

     15    actually performed by someone, as claimed.

     16                      Is that correct?

     17          A.    You read -- you part of my paragraph 17 --

     18    40 correctly, yes.

     19          Q.    And the supporting evidence -- or the evidence

     20    in support of your opinion is identified in

     21    paragraph 41, correct?

     22          A.    Yes, that's part of what I tried to do in 41.

     23          Q.    Is there any other evidence that supports

     24    your position that's not cited in the declaration of

     25    yours?



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      1          A.    I think there's at least some other language

      2    where they talk about a viewer, but it's pretty much the

      3    same sort of language as this.        Maybe -- maybe it's in

      4    that string cite at the bottom.        Maybe they're all cited

      5    there.

      6                      But I know I -- I talk about one here.         I

      7    quote one particularly here.       But I know they use the

      8    same -- the word "viewer" a couple different times in

      9    the patent all meaning the same thing.         They seem very

     10    consistent.    They're talking about a user of the system.

     11          Q.    And if there were any additional cites that

     12    you thought would be helpful, you would have included it

     13    in your declaration?

     14          A.    I thought those were the most useful.        I

     15    thought they were -- they made the point very well of

     16    how the patentee was using the word "viewer" and how one

     17    skilled in the art would understand the word "viewer" in

     18    the claim.

     19          Q.    For the next term, in the paragraph heading H,

     20    "All method steps, or the combination of method steps

     21    and system elements in a single claim," it's your

     22    opinion -- what is your opinion about this claim term,

     23    Dr. Stevenson?

     24          A.    Well, I'd --

     25                      MR. RUNYAN:    Objection, vague as --



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      1    objection, vague as to "claim term."

      2          A.    In Section H, paragraphs, what, 42 through 44,

      3    I talk about, you know, my understanding -- you know,

      4    I've seen this in a couple other cases where this --

      5    this idea of -- I don't know what you want to call it.

      6    There's probably some legal term, but some sort of

      7    hybrid claim where it's both a system and a -- and a

      8    method.    That's not a proper structure for a claim, and

      9    so that's what I'm talking about in Section H.

     10          Q.    (BY MR. LEE)    The basis of your opinions in

     11    your declaration is based upon your review of the

     12    '435 patent; is that correct?

     13          A.    Well, I mean, probably most importantly for

     14    this one, it's the claim language and what the claim

     15    language lays out.

     16                       Now, certainly, I get my understanding of

     17    what that claim language is laying out and the fact that

     18    some of the operations are talking about a human

     19    performing some steps and the other operations are about

     20    a system, you know, comes from the -- from the -- from

     21    the patent.

     22          Q.    You testified earlier that you considered the

     23    '435 file history; is that correct?

     24          A.    Yes.

     25          Q.    Your declaration doesn't cite to the



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      1    '435 patent file history, does it?

      2          A.    My recollection is the file history of the

      3    '435 is very brief.      I think it was like -- something

      4    like a hundred pages.      There was not much discussion

      5    about any -- I don't recall any discussion of claim

      6    terms or, you know, things that were particularly

      7    relevant to any of the terms at issue, so it doesn't --

      8    it doesn't surprise me that there's no cites to anything

      9    in there.

     10          Q.    So your opinions, then, is based on the

     11    '435 patent?

     12          A.    Well, it's also --

     13          Q.    And what else?

     14          A.    -- based on the file history.

     15          Q.    Is there anything else that your opinion is

     16    based upon?

     17          A.    My knowledge and understanding of what a

     18    person of ordinary skill in the art would know at the

     19    time of the invention.

     20          Q.    And your declaration provides -- states all

     21    the bases for your opinion -- bases and support for your

     22    opinions; is that correct?

     23          A.    I believe that the bases for my opinion are

     24    well spelled out in my declaration and, you know,

     25    provide the necessary insight to understand how I



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      1    reached the opinions I did.

      2          Q.    Is there anything that you relied upon that's

      3    not disclosed in your declaration?

      4          A.    Is this question somehow different than the

      5    last ten times you've asked that question?          I mean, I

      6    feel like we've gone around and around on this.          It's --

      7    I've repeated this answer over and over again.

      8                      Things I relied on were the '435, its file

      9    history, my knowledge and experience, especially of

     10    the -- what a person of ordinary skill in the art would

     11    know at the time.

     12                      If I had relied on anything else, I would

     13    have cited it in the body of my declaration.          We've gone

     14    through pretty much every paragraph, and I didn't see

     15    any additional cites outside that, so I don't know of

     16    anything else.     I don't believe I relied on anything

     17    else.

     18          Q.    Earlier you testified that you spend about

     19    75 percent of your time working at Notre Dame and the

     20    other 25 percent of your time doing consulting work; is

     21    that correct?

     22          A.    I gave you rough -- rough values.        You know, I

     23    said 75 percent at Notre Dame, 20, 25 percent doing

     24    these sort of consulting things.

     25          Q.    What is your annual income at Notre Dame?



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      1          A.    I don't know.     I'd have to look it up.

      2          Q.    What's your -- do you know what your salary is

      3    at Notre Dame?

      4                      MR. RUNYAN:    Objection, irrelevant.

      5          A.    No.

      6          Q.    (BY MR. LEE)     How much money have you earned

      7    as a consultant in the past year?

      8          A.    I don't really track these things.        My wife

      9    does all the bills and all the taxes, so until I sign

     10    things, I don't really know -- pay attention.

     11          Q.    Do you earn more as a consultant or more as

     12    working at Notre Dame?

     13          A.    Well, even though I spend more time working at

     14    Notre Dame, I probably earn more as a consultant most

     15    years.

     16          Q.    How much more?

     17          A.    I don't know.     I mean, I really have no idea

     18    at this point.

     19          Q.    And you don't know how much you've billed on

     20    this case so far?

     21          A.    No.   I have to go back and look at some

     22    records.    I mean, I can know.     I just -- I don't pay

     23    much attention to these numbers.        I've got other things

     24    to think about.

     25                      MR. LEE:    I have no further questions at



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      1    this point.

      2                      Ed, if you have any questions, please

      3    proceed.

      4                      MR. RUNYAN:    I don't have any questions.

      5                      MR. LEE:   Andrew?

      6                      MR. OLIVER:    No questions from me.

      7                      MR. LEE:   Dr. Stevenson, thank you for

      8    your time.

      9                      THE WITNESS:    No problem.    Good bye.

     10                      (Momentary off-the-record discussion.)

     11                      THE REPORTER:    It is 4:01, and the

     12    deposition has concluded.       Thank you.

     13                      (Proceeding concluded at 4:01 p.m.)

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      1                         CHANGES AND SIGNATURE

      2    WITNESS NAME:     ROBERT STEVENSON, Ph.D.

      3    DATE:   April 7, 2020

      4    Reason Codes: (1) to clarify the record; (2) to conform
           to the facts; (3) to correct a transcription error; (4)
      5    other (please explain).

      6    PAGE LINE         CHANGE               REASON

      7    ________________________________________________________

      8    ________________________________________________________

      9    ________________________________________________________

     10    ________________________________________________________

     11    ________________________________________________________

     12    ________________________________________________________

     13    ________________________________________________________

     14    ________________________________________________________

     15    ________________________________________________________

     16    ________________________________________________________

     17    ________________________________________________________

     18    ________________________________________________________

     19    ________________________________________________________

     20    ________________________________________________________

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     24    ________________________________________________________

     25    ________________________________________________________



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      1                I, ROBERT STEVENSON, Ph.D., have read the

      2    foregoing deposition and hereby affix my signature that

      3    same is true and correct, except as noted above.

      4
                                      _________________________________
      5                               ROBERT STEVENSON, Ph.D.

      6    THE STATE OF __________)

      7    COUNTY OF _____________)

      8

      9                Before me, ___________________________, on

     10    this day personally appeared ROBERT STEVENSON, Ph.D.,

     11    known to me (or proved to me under oath or through

     12    ___________________________) (description of identity

     13    card or other document)) to be the person whose name is

     14    subscribed to the foregoing instrument and acknowledged

     15    to me that they executed the same for the purposes and

     16    consideration therein expressed.

     17                Given under my hand and seal of office this

     18    __________ day of ________________________, __________.

     19

     20

     21                               _________________________________
                                      NOTARY PUBLIC IN AND FOR
     22                               THE STATE OF ____________________

     23    COMMISSION EXPIRES: _____________

     24

     25



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      1                 IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
      2                           TYLER DIVISION

      3    LONE STAR TECHNOLOGICAL           §
           INNOVATIONS, INC.,                §
      4                                      §
                 Plaintiff,                  §
      5                                      §   CIVIL ACTION
                             v.              §
      6                                      §   NO.: 6:19-cv-00059-RWS
           ASUSTEK COMPUTER, INC.,           §
      7                                      §
                 Defendant.                  §
      8

      9

     10

     11                 -----------------------------------

     12                       REPORTER'S CERTIFICATION

     13                DEPOSITION OF ROBERT STEVENSON, Ph.D.

     14                              APRIL 7, 2020

     15                              VOLUME 1 OF 1

     16                 -----------------------------------

     17

     18

     19          I, April R. Brunson, Certified Shorthand Reporter in

     20    and for the State of Texas, hereby certify to the

     21    following:

     22          That the witness, ROBERT STEVENSON, Ph.D., was duly

     23    sworn by the officer and that the transcript of the oral

     24    deposition is a true record of the testimony given by

     25    the witness;



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      1          I further certify pursuant to FRCP Rule 30(f)(1)

      2    that the examination and signature by the deponent was

      3    requested by the deponent or a party before the

      4    completion of the deposition and that, therefore, the

      5    deposition transcript was submitted on the 13th day

      6    of April, 2020, to the witness or to the

      7    attorney for the witness for examination and signature

      8    before any notary public and to be returned to me within

      9    30 days from date of receipt of the transcript.

     10    If returned, the attached Changes and Signature Page

     11    contains any changes and the reasons therefore;

     12          That pursuant to information given to the deposition

     13    officer at the time said testimony was taken, the

     14    following includes counsel for all parties of record:

     15

     16          FOR THE PLAINTIFF:
                      Mr. John Lee
     17               BANIE & ISHIMOTO, L.L.P.
                      3705 Haven Avenue
     18               Suite 137
                      Menlo Park, California 94025
     19               650.241.2771
                      650.241.2770 (Fax)
     20               jlee@banishlaw.com

     21          FOR THE DEFENDANT ASUSTEK COMPUTER, INC.:
                      Mr. Andrew T. Oliver
     22               AMIN, TUROCY & WATSON, LLP
                      160 West Santa Clara Street
     23               Suite 975
                      San Jose, California 95113
     24               650.393.0634
                      aoliver@atwiplaw.com
     25



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      1          FOR THE DEFENDANT BARCO N.V.:
                      Mr. Edward K. Runyan
      2               NEUSTEL LAW OFFICES, LTD
                      2534 South University Drive
      3               Suite 4
                      Fargo, North Dakota 58103
      4               701.281.8822
                      701.237.0544 (Fax)
      5               edward@neustel.com

      6          That the amount of time used by each party at the

      7    deposition is as follows:

      8                MR. LEE - 2 hours, 9 minutes
                       MR. OLIVER - 0 minutes
      9                MR. RUNYAN - 0 minutes

     10          That $__________ is the deposition officer's charges

     11    to the Plaintiff for preparing the original deposition

     12    transcript and any copies of exhibits;

     13          I further certify that I am neither counsel for,

     14    related to, nor employed by any of the parties or

     15    attorneys in the action in which this proceeding was

     16    taken, and further that I am not financially or

     17    otherwise interested in the outcome of the action.

     18          Certified to by me this 13th day of

     19    April, 2020.

     20

     21

     22                               _________________________________
                                      April R. Brunson
     23                               Texas CSR No. 7495
                                      Expiration Date: 4/30/2022
     24                               PohlmanUSA
                                      Firm Registration No. 814
     25                               314.421.0099



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